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                                 EXHIBIT 1
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Reg. No. 5,229,553         SZ DJI Technology Co., Ltd. (CHINA LIMITED LIABILITY COMPANY)
                           No. 18 Gaoxin South 4th Ave.
Registered Jun. 20, 2017   17/F, West Wing
                           Nanshan District CHINA 518057She
Int. Cl.: 12               CLASS 12: Accessories for robotic aircraft, drones, unmanned aerial vehicles (UAVs),
                           unmanned aerial systems (UAS) comprised of drones and remote controls for drones, and
Trademark                  remote control (RC) aircrafts other than toys, namely, propellers, propeller guards, gimbals,
                           cases and straps; drones and related software and manuals therefor sold as a unit; unmanned
Principal Register         aerial vehicles (UAVs) and related software and manuals therefor sold as a unit; unmanned
                           aerial systems (UAS) comprised of drones and remote controls for drones and related
                           software and manuals therefor sold as a unit; remote control (RC) aircraft other than toys and
                           related software and manuals therefor sold as a unit; unmanned aerial vehicles (UAVs),
                           unmanned aerial systems (UAS) comprised of drones and remote controls for drones, and
                           remote control (RC) aircraft, other than toys, and related software and manuals therefor sold
                           as a unit

                           FIRST USE 9-27-2016; IN COMMERCE 9-27-2016

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 87-138,255, FILED 08-15-2016
                           JEFFREY J LOOK, EXAMINING ATTORNEY
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      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
 international registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at h
 ttp://www.uspto.gov.

 NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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